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 7                          UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9                                   EASTERN DIVISION
10
                                   )
11
     BAHAR SENGEL and CENGIZ       ) Case No.: EDCV 21-01454-CJC(SHKx)
                                   )
12   SENGEL,                       )
                                   )
13                                 )
             Plaintiffs,           )
14                                 ) ORDER GRANTING DEFENDANT’S
         v.                        ) MOTION TO DISMISS WITHOUT
15                                 ) PREJUDICE [Dkt. 11]
                                   )
16   CONCORD SERVICING CORP. d/b/a )
     BLACKWELL RECOVERY,           )
17                                 )
                                   )
18           Defendant.            )
                                   )
19                                 )
                                   )
20

21   I.    INTRODUCTION & BACKGROUND
22

23         On August 26, 2021, Plaintiffs Bahar Sengel and Cengiz Sengel filed this action
24   alleging violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.
25   § 1692 et seq., and California’s Rosenthal Fair Debt Collection Practices Act (“Rosenthal
26   Act”), Cal. Civ. Code §1788 et seq., against Defendant Concord Servicing Corp. d/b/a
27   Blackwell Recovery. (Dkt. 1 [Complaint, hereinafter “Compl.”].) The action arises out
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 1   of Defendant’s attempt to collect a debt Plaintiffs owed to a homeowners association.
 2   (Id. ¶ 10.)
 3

 4          On August 6, 2021, Defendant mailed a debt-collection letter to Plaintiffs,
 5   informing them of a debt they owed (“August letter”).1 (Id. ¶ 12; see Dkt. 11-4 [August
 6   letter].) Plaintiffs appear to have screen grabbed a portion of the August letter and pasted
 7   it into their Complaint. (See Compl. ¶ 14.) The August letter informed Plaintiffs that
 8   they owed $7.12 in late charges, $282.73 in maintenance fees, and $110.26 in collection
 9   fees, for a total balance due of $400.11. (Id. ¶ 14.) A portion of the letter appears below:
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15

16   (Id.) Plaintiffs allege that Defendant provided no further information as to the nature of
17   the debt or any other information that would have allowed Plaintiffs to go about
18   intelligently addressing it. (Id. ¶ 16.) Specifically, Plaintiffs allege that “the August
19   letter fails to adequately advise Plaintiffs of the current creditor to whom the subject debt
20   is owed, as required by 15 U.S.C. § 1692(g)(a)(2)” nor does it “clarify to whom the
21   subject debt is now owed.” (Id. ¶¶ 18, 19.) Plaintiffs also state that “the August letter
22   does not contain information pertaining to any creditor at all.” (Id. ¶ 20.)
23

24          The first paragraph of the August letter provides “Blackwell Recovery has been
25   retained by WORLDMARK BY WYNDHAM, HOA to assist in resolving your account.
26

27
     1
      Courts “may . . . consider documents that are incorporated by reference, but not physically attached to,
     the complaint if they are central to plaintiff’s claim and no party questions their authenticity.” See
28   Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006). Since Plaintiffs base their allegations upon the
     August letter and do not question its authenticity, the August letter is incorporated by reference.
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 1   Please remit your past due balance of $400.11 (see Breakdown above), which includes
 2   maintenance fees, late charges, and other applicable charges allowed by your contract,
 3   made payable to WORLDMARK, THE CLUB.” (August letter at 1 [emphases in
 4   original].)
 5

 6          Yet Plaintiffs claim that the August letter failed to identify the creditor and, as
 7   such, was “misleading and confusing to Plaintiffs[] and is similarly misleading and
 8   confusing to the unsophisticated consumer.” (Compl. ¶ 21.) Plaintiffs allege they “have
 9   suffered a concrete harm as a result of Defendant’s conduct, including but not limited to
10   emotional distress, feeling harassed, deprivation of substantive and vital information in
11   connection with Defendant’s collection efforts, as well as harm and risk of harm to
12   Plaintiffs’ concrete interests under the FDCPA as Defendant’s conduct deprived Plaintiffs
13   of being able to go about intelligently responding to Defendant’s collection efforts – an
14   underlying interest which is at the core of the FDCPA.” (Id. ¶ 24.)
15

16          Before the Court is Defendant’s 12(b)(1) motion to dismiss Plaintiff’s Complaint
17   for lack of standing, or in the alternative Defendant’s 12(b)(6) motion for failure to state a
18   claim under both the FDCPA and the Rosenthal Act. (Dkt. 11 [hereinafter “Mot.”].) For
19   the following reasons, Defendant’s motion is GRANTED.2
20

21
     II.    LEGAL STANDARD
22

23
            “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian Life Ins.
24
     Co. of Am., 511 U.S. 375, 377 (1994). As such, federal courts are presumed to lack
25
     jurisdiction in a particular case “unless the contrary affirmatively appears.” Stock W.,
26

27
     2
      Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28   for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
     for February 7, 2022, at 1:30 p.m. is hereby vacated and off calendar.
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 1   Inc. v. Confederated Tribes of the Colville Reservation, 873 F.2d 1221, 1225 (9th Cir.
 2   1989). In deciding a Rule 12(b)(1) motion challenging subject matter jurisdiction, the
 3   burden of proof is on the party asserting jurisdiction, and the court will presume a lack of
 4   jurisdiction until the pleader proves otherwise. See Kokkonen, 511 U.S. at 377.
 5

 6         Article III of the Constitution requires that courts adjudicate only actual cases or
 7   controversies. See U.S. Const. art. III, § 2, cl. 1; see also Rhoades v. Avon Prods., Inc.,
 8   504 F.3d 1151, 1157 (9th Cir. 2007). To meet this “irreducible constitutional minimum,”
 9   plaintiffs must establish that they have standing, which requires that they “(1) suffered an
10   injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and
11   (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins,
12   136 S. Ct. 1540, 1547 (2016). “A plaintiff has the burden to establish that it has
13   standing.” WildEarth Guardians v. U.S. Dep’t of Agriculture, 795 F.3d 1148, 1154 (9th
14   Cir. 2015). “A suit brought by a plaintiff without Article III standing is not a ‘case or
15   controversy,’ and an Article III federal court therefore lacks subject matter jurisdiction
16   over the suit.” Cetacean Cmty. v. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004) (citing Steel
17   Co. v. Citizens for a Better Env’t, 523 U.S. 83, 101 (1998)).
18

19         “A Rule 12(b)(1) jurisdictional attack may be facial or factual. In a facial attack,
20   the challenger asserts that the allegations contained in a complaint are insufficient on
21   their face to invoke federal jurisdiction. By contrast, in a factual attack, the challenger
22   disputes the truth of the allegations that, by themselves, would otherwise invoke federal
23   jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004)
24   (citation omitted). In resolving a facial attack, the court assumes that the allegations are
25   true and draws all reasonable inferences in the plaintiff’s favor. Wolfe v. Strankman, 392
26   F.3d 358, 362 (9th Cir. 2004) (citations omitted).
27

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 1   III.   DISCUSSION
 2

 3          Plaintiffs have failed to allege a sufficient Article III injury to establish subject
 4   matter jurisdiction. The Ninth Circuit uses a two-step approach to assess whether a
 5   statutory violation, such as a violation of the FDCPA, constitutes a concrete injury
 6   sufficient to satisfy Article III’s standing requirements. Patel v. Facebook, Inc., 932 F.3d
 7   1264, 1270 (9th Cir. 2019); see Lenzini v. DCM Servs., LLC, 2021 U.S. Dist. LEXIS
 8   100007, at *6 (N.D. Cal. May 26, 2021). Under the approach, courts “ask ‘(1) whether
 9   the statutory provisions at issue were established to protect the plaintiff’s concrete
10   interests (as opposed to purely procedural rights), and if so, (2) whether the specific
11   procedural violations alleged in this case actually harm, or present a material risk of harm
12   to, such interests.’” Id. (alteration omitted) (quoting Robins v. Spokeo, 867 F.3d 1108,
13   1113 (9th Cir. 2017)).
14

15          A recent Ninth Circuit decision, Adams v. Skagit Bonded Collectors, LLC, 836 F.
16   App’x 544 (2020), addressed a substantively similar claim to the one Plaintiffs raise here
17   and applied the two-step approach to determine if the plaintiffs had standing. Under the
18   first step, the Ninth Circuit explained that the FDCPA was more designed to protect
19   procedural rights rather than concrete interests. Id. at 546. To arrive at that finding, the
20   Circuit evaluated the “[h]istorical practice” and the “legislative judgment” underlying the
21   FDCPA. Id. (quoting Campbell v. Facebook, Inc., 951 F.3d 1106, 1117 (9th Cir. 2020)).
22   Historically, the Circuit reasoned that the closest common law analogue to an FDCPA
23   claim premised on misleading statements is fraud. Id. To state a sufficient injury under a
24   fraud claim, the plaintiff must plead “proof of reliance and resulting pecuniary loss.” Id.
25   Legislatively, the Ninth Circuit reasoned that Congress in passing the FDCPA was
26   concerned with “genuinely misleading statements that may frustrate a consumer’s ability
27   to intelligently choose his or her response” to a debt collector’s communication. Id. at
28   546. The Circuit concluded that statements in a debt-collection letter “that induce no

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 1   reliance do not impede a consumer’s ability to intelligently respond to a debt collector[.]”
 2   Id.
 3

 4         Under the second step, the Ninth Circuit found that the plaintiff had not alleged
 5   actual harm or a material risk of harm to the procedural interests the FDCPA protects
 6   because “[n]othing in the [c]omplaint suggests he took or forewent any action because of
 7   the allegedly misleading statements in the letter.” Id. at 547. Instead, “the Complaint
 8   includes a bare allegation of confusion. Without more, confusion does not constitute an
 9   actual harm to [plaintiff’s] concrete interests.” Id. Thus, plaintiff’s alleged confusion by
10   the debt collection letter was not enough to confer Article III standing. Id.
11

12         Similarly, in Lenzini v. DCM Servs., LLC, a district court applied Adams to an
13   FDCPA claim based on misleading statements in a debt collection letter and found that
14   the plaintiff’s complaint failed to allege an Article III injury. 2021 U.S. Dist. LEXIS
15   100007 (N.D. Cal. May 26, 2021). There, the plaintiff alleged that because the defendant
16   failed to identify the current creditor, “[plaintiff] did not make a payment on the subject
17   debt as the omission of the identify [sic] of the current creditor rendered it impossible for
18   [plaintiff] to determine whom she is ultimately paying.” Id. at *10. The district court
19   found that this was not enough to allege reliance on the misleading statement. The
20   district court reasoned that the plaintiff did not allege that she would have paid the correct
21   creditor but believed another party would have been more appropriate to pay. Id. “Nor
22   [did] she adequately explain or allege how [the debt collection letter] was confusing
23   where [the creditor] was listed as both the ‘original creditor’ and the ‘creditor” on the
24   letter[.]” Id. (emphasis in original). Accordingly, the plaintiff lacked standing. Id.
25

26         This case is similar to Adams and Lenzini. Here, Plaintiffs allege the August letter
27   was “misleading and confusing to Plaintiffs[,]” (Compl. ¶ 21), because it “fails to
28   adequately advise Plaintiffs of the current creditor to whom the subject debt is owed, as

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 1   required by 15 U.S.C. § 1692(g)(a)(2),” nor does it “clarify to whom the subject debt is
 2   now owed,” (id. ¶¶ 18, 19). According to Plaintiffs, the failure to clearly identify the
 3   creditor resulted in “concrete harm . . . including but not limited to . . . deprivation of
 4   substantive and vital information in connection with Defendant’s collection efforts, as
 5   well as harm and risk of harm to Plaintiffs’ concrete interests under the FDCPA as
 6   Defendant’s conduct deprived Plaintiffs of being able to go about intelligently responding
 7   to Defendant’s collection efforts – an underlying interest which is at the core of the
 8   FDCPA.” (Id. ¶ 24.) But like Adams and Lenzini, Plaintiffs fail to explain how they
 9   relied upon the allegedly confusing August letter—that is, took or forwent action because
10   of the August letter—to their detriment. See Adams, 836 F. App’x at 547; Lenzini, 2021
11   U.S. Dist. LEXIS 100007 at *10. Though Plaintiffs explain that the lack of information
12   in the letter prevented them from being able to “intelligently address” the debt owed, (id.
13   ¶16), they do not explain what detriment they incurred because of that failure. For
14   example, Plaintiffs do not state that they read the letter, paid the debt as they understood
15   the letter to instruct, but actually paid the wrong creditor. Nor do Plaintiffs identify any
16   additional fees they incurred because of their failure to take any action in response to the
17   debt. Doing nothing in response to an allegedly confusing letter is simply not enough to
18   establish subject matter jurisdiction.
19

20         Plaintiffs also fail to allege how the August letter was confusing. Like the debt-
21   collection letter in Lenzini, the August letter does identify the creditor owed. See Lenzini,
22   2021 U.S. Dist. LEXIS 100007 at *10. Though Plaintiffs omitted most of the August
23   letter from their Complaint, the letter states in the very first paragraph that “Blackwell
24   Recovery has been retained by WORLDMARK BY WYNDHAM, HOA to assist in
25   resolving your account. Please remit your past due balance of $400.11 . . . which
26   includes maintenance fees, late charges, and other applicable charges allowed by your
27   contract, made payable to WORLDMARK, THE CLUB.” (August Letter at 1 [emphases
28   in original].) Contrary to Plaintiffs’ assertions (Dkt. 20 [Plaintiffs’ Opposition to

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 1   Defendant’s Motion to Dismiss, hereinafter “Opp.”] at 4), unsophisticated consumers
 2   would be able to discern who the creditor is and who Plaintiffs should pay.
 3

 4         Plaintiffs attempt to distinguish their case from Adams and Lenzini, arguing that
 5   they do allege an Article III injury because they state the August letter caused them more
 6   than confusion, but also “emotional distress” and left them “feeling harassed.” (Opp. at
 7   5–7; Compl. ¶ 24.) Just as Plaintiffs fail to explain how the August letter caused them
 8   confusion, so too do Plaintiffs fail to explain how Defendant’s conduct caused them
 9   emotional distress and left them feeling harassed. Read in the light most favorable to the
10   Plaintiffs, it was Plaintiffs’ alleged confusion over the correct creditor that led to the
11   emotional distress and their perceived harassment. But again, Plaintiffs fail to explain
12   how a letter which clearly identifies the correct creditor would lead to such injuries.
13   While emotional distress and feelings of harassment may be a concrete injury, it is not
14   enough to confer standing in this instance because, as alleged, the complained of harm is
15   not “fairly traceable to the challenged conduct of the defendant.” Spokeo, Inc., 136 S. Ct.
16   at 1547.
17

18   //
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